              Case 24-20183-NGH                   Doc 1       Filed 05/24/24 Entered 05/24/24 14:49:59                             Desc Main
                                                             Document      Page 1 of 34

Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF IDAHO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                No Limits Aviation, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10390 N. Sensor Ave
                                  Hayden, ID 83835
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kootenai                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 24-20183-NGH                      Doc 1        Filed 05/24/24 Entered 05/24/24 14:49:59                                     Desc Main
                                                                 Document      Page 2 of 34
Debtor    No Limits Aviation, Inc.                                                                      Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6115

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
             Case 24-20183-NGH                    Doc 1       Filed 05/24/24 Entered 05/24/24 14:49:59                                  Desc Main
                                                             Document      Page 3 of 34
Debtor   No Limits Aviation, Inc.                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case 24-20183-NGH                   Doc 1       Filed 05/24/24 Entered 05/24/24 14:49:59                                 Desc Main
                                                            Document      Page 4 of 34
Debtor   No Limits Aviation, Inc.                                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       May 24, 2024
                                                  MM / DD / YYYY


                             X /s/       Shane Rogers                                                      Shane Rogers
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ Matthew Christensen                                                     Date    May 24, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Matthew Christensen
                                 Printed name

                                 Johnson May
                                 Firm name

                                 199 N. Capitol Blvd.
                                 Suite 200
                                 Boise, ID 83702
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (208) 384-8588                Email address      mtc@johnsonmaylaw.com

                                 7213 ID
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
Case 24-20183-NGH   Doc 1    Filed 05/24/24 Entered 05/24/24 14:49:59   Desc Main
                            Document      Page 5 of 34
           Case 24-20183-NGH                           Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                  Desc Main
                                                                     Document      Page 6 of 34




 Fill in this information to identify the case:

 Debtor name         No Limits Aviation, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           May 24, 2024                           X /s/ Shane Rogers
                                                                       Signature of individual signing on behalf of debtor

                                                                        Shane Rogers
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                Case 24-20183-NGH                           Doc 1        Filed 05/24/24 Entered 05/24/24 14:49:59                                       Desc Main
                                                                        Document      Page 7 of 34

 Fill in this information to identify the case:
 Debtor name No Limits Aviation, Inc.
 United States Bankruptcy Court for the: DISTRICT OF IDAHO                                                                                            Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                               Credit card                                                                                                 $2,500.00
 Company
 Attn: Legal
 Department
 200 Vesey Street

 New York, NY
 10285-3106
 Brian Lysak                                                    Lawsuit                 Unliquidated                                                                              $0.00
 6079 E Fernan Hill                                                                     Disputed
 Rd
 Coeur D Alene, ID
 83814
 Certified Security &                                           Trade debt                                                                                                    $324.00
 Integration
 1420 North Pines Rd.
 Spokane, WA 99206
 City Service Valcon                                            Trade debt                                                                                                $16,150.75
 P.O. Box 1
 Kalispell, MT
 59903-0001
 Idaho Department of                                            Taxes                                                                                                         $547.85
 Labor
 600 N Thornton St.
 Post Falls, ID 83854
 Idaho Department of                                            Aircraft Registration                                                                                         $523.50
 Transportation                                                 Fees
 P.O Box 34
 Boise, ID 83707-0034
 Idaho State Tax                                                BEECH 76 - Fixed                                       $5,114.37                $75,000.00                  $5,114.37
 Commission                                                     wing multi engine
 PO Box 36                                                      Aircraft
 Boise, ID 83722-0410                                           Registration:
                                                                N5017M
 Idaho State Tax                                                Taxes                                                                                                     $43,834.48
 Commission`
 PO Box 36
 Boise, ID 83722-0410

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                Case 24-20183-NGH                           Doc 1        Filed 05/24/24 Entered 05/24/24 14:49:59                                       Desc Main
                                                                        Document      Page 8 of 34


 Debtor    No Limits Aviation, Inc.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Internal Revenue                                               Taxes                                                                                                             $0.00
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Kerr Oil                                                       Trade debt                                                                                                $17,103.12
 W 650 Clayton Ave
 Coeur D Alene, ID
 83815
 Kevin Waite                                                    Legal Services                                                                                            $12,000.00
 505 E Front Ave, Ste
 205
 Coeur D Alene, ID
 83814
 Northstar Jet                                                  Trade debt                                                                                                    $763.76
 4337 Corporate Way
 Missoula, MT 59808
 Northwest Seaplanes                                            Trade debt                                                                                                $10,241.24
 P.O. Box 1845
 Renton, WA 98057
 Rob McCarthy                                                   1954 BEECH D18S                                     $420,000.00               $350,000.00                 $70,000.00
 6079 E Fernan Hill                                             - Fixed wing multi
 Rd.                                                            engine Aircraft
 Coeur D Alene, ID                                              Registration:
 83814                                                          N33JP
 Safety Kleen                                                   Trade debt                                                                                                    $484.88
 3808 Sullivan Rd #1
 Spokane, WA 99216
 San Bernadino                                                  Trade debt                                                                                                    $330.00
 County
 268 W. Hospitality Ln.
 Third Fl. Ste #302
 San Bernardino, CA
 92415




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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            Case 24-20183-NGH                                     Doc 1             Filed 05/24/24 Entered 05/24/24 14:49:59                                                           Desc Main
                                                                                   Document      Page 9 of 34
 Fill in this information to identify the case:

 Debtor name            No Limits Aviation, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           889,161.18

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           889,161.18


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           555,114.37


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            44,905.83

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            59,897.75


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             659,917.95




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
           Case 24-20183-NGH                           Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                         Desc Main
                                                                     Document     Page 10 of 34
 Fill in this information to identify the case:

 Debtor name         No Limits Aviation, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Umpqua Bank                                             Checking                        1251                                     $5,428.63




           3.2.     Umpqua Bank                                             Checking                        1152                                     $4,296.07



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                 $9,724.70
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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           Case 24-20183-NGH                           Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                         Desc Main
                                                                     Document     Page 11 of 34
 Debtor         No Limits Aviation, Inc.                                                              Case number (If known)
                Name


           11a. 90 days old or less:                                 55,236.48   -                                   0.00 = ....                 $55,236.48
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.
                                                                                                                                             $55,236.48
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last                Net book value of         Valuation method used   Current value of
                                                     physical inventory              debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Various aviation training
           manuals and books                                                                        $0.00                                          $1,000.00



 23.       Total of Part 5.
                                                                                                                                               $1,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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           Case 24-20183-NGH                           Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59               Desc Main
                                                                     Document     Page 12 of 34
 Debtor         No Limits Aviation, Inc.                                                      Case number (If known)
                Name

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Various office furniture; Desks, desk chairs, work
           tables                                                                           $0.00    Comparable sale                     $2,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $2,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1999 Ford                                                              $0.00    Comparable sale                     $1,200.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories

           49.1.     CESSNA 172P - Fixed Wing Single Engine
                     Aircraft Registration: N9866L                                          $0.00    Comparable sale                  $100,000.00


           49.2.     1954 BEECH D18S - Fixed wing multi
                     engine
                     Aircraft Registration: N33JP                                           $0.00    Comparable sale                  $350,000.00


           49.3.     1973 BEECH A60 - Fixed wing multi
                     engine
                     Aircraft Registration: N811DN (instrument
                     panel not working)                                                     $0.00                                      $60,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59               Desc Main
                                                                     Document     Page 13 of 34
 Debtor         No Limits Aviation, Inc.                                                      Case number (If known)
                Name

            49.4.    BEECH 76 - Fixed wing multi engine
                     Aircraft Registration: N5017M                                          $0.00    Comparable sale                   $75,000.00


            49.5.    AMERICAN LEGEND AIRCRAFT CO AL
                     11 - Fixed wing single engine
                     Aircraft Registration: N47HD                                           $0.00    Comparable sale                   $25,000.00


            49.6.    BOEING A75N1 (PT17) - Fixed wing single
                     engine
                     Aircraft Registration: N707X                                           $0.00    Comparable sale                  $100,000.00


            49.7.    1962 NAVION NAVION G - Fixed wing
                     single engine
                     Aircraft Registration: N24107T                                         $0.00    Comparable sale                     $5,000.00



 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            RedBird TD2 Flight Simulator                                                    $0.00    Comparable sale                     $5,000.00


            Various power tools, hand tools, and airplane
            parts.                                                                          $0.00    Comparable sale                  $100,000.00



 51.        Total of Part 8.
                                                                                                                                  $821,200.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59            Desc Main
                                                                     Document     Page 14 of 34
 Debtor         No Limits Aviation, Inc.                                                     Case number (If known)
                Name

            FlightCircle.com (scheduling software, contains
            customer list)                                                                  $0.00                                       Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                          $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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            Case 24-20183-NGH                              Doc 1         Filed 05/24/24 Entered 05/24/24 14:49:59                                          Desc Main
                                                                        Document     Page 15 of 34
 Debtor          No Limits Aviation, Inc.                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                             $9,724.70

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                    $55,236.48

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                $1,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $2,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $821,200.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                           $889,161.18            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $889,161.18




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 6
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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                                Desc Main
                                                                     Document     Page 16 of 34
 Fill in this information to identify the case:

 Debtor name         No Limits Aviation, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Damien Dugan                                  Describe debtor's property that is subject to a lien                  $130,000.00               $200,000.00
       Creditor's Name                               BEECH 76 - Fixed wing multi engine Aircraft
                                                     Registration: N5017M ; AMERICAN LEGEND
                                                     AIRCRAFT CO AL 11 - Fixed wing single engine
                                                     Aircraft Registration: N47HD; BOEING A75N1
                                                     (PT17) - Fixed wing single engine Aircraft
       11856 E. Sedgwick Lane                        Registration: N707X
       83801
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Damien Dugan
       2. Idaho State Tax
       Commission

 2.2   Idaho State Tax Commission                    Describe debtor's property that is subject to a lien                      $5,114.37               $75,000.00
       Creditor's Name                               BEECH 76 - Fixed wing multi engine Aircraft
                                                     Registration: N5017M
       PO Box 36
       Boise, ID 83722-0410
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                                Desc Main
                                                                     Document     Page 17 of 34
 Debtor       No Limits Aviation, Inc.                                                                 Case number (if known)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

 2.3    Rob McCarthy                                 Describe debtor's property that is subject to a lien                       $420,000.00        $350,000.00
        Creditor's Name                              1954 BEECH D18S - Fixed wing multi engine
                                                     Aircraft Registration: N33JP
        6079 E Fernan Hill Rd.
        Coeur D Alene, ID 83814
        Creditor's mailing address                   Describe the lien
                                                     Aircraft Security Agreement
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $555,114.37

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                                   Desc Main
                                                                     Document     Page 18 of 34
 Fill in this information to identify the case:

 Debtor name         No Limits Aviation, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $547.85         $547.85
           Idaho Department of Labor                                 Check all that apply.
                                                                        Contingent
           600 N Thornton St.
                                                                        Unliquidated
           Post Falls, ID 83854
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $523.50         $523.50
           Idaho Department of Transportation                        Check all that apply.
                                                                        Contingent
           P.O Box 34
                                                                        Unliquidated
           Boise, ID 83707-0034
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Aircraft Registration Fees
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $43,834.48          $43,834.48
           Idaho State Tax Commission`                               Check all that apply.
                                                                        Contingent
           PO Box 36
                                                                        Unliquidated
           Boise, ID 83722-0410
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 3
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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                                             Desc Main
                                                                     Document     Page 19 of 34
 Debtor       No Limits Aviation, Inc.                                                                        Case number (if known)
              Name

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           PO Box 7346
                                                                        Unliquidated
           Philadelphia, PA 19101-7346
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $2,500.00
           American Express Company
           Attn: Legal Department
           200 Vesey Street
                                                                                       Contingent
                                                                                       Unliquidated
           New York, NY 10285-3106                                                     Disputed
           Date(s) debt was incurred                                               Basis for the claim: Credit card
           Last 4 digits of account number 1006                                    Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   Unknown
           Brian Lysak
                                                                                       Contingent
           6079 E Fernan Hill Rd                                                       Unliquidated
           Coeur D Alene, ID 83814                                                     Disputed
           Date(s) debt was incurred 12/1/22-present                               Basis for the claim: Lawsuit
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $324.00
           Certified Security & Integration
                                                                                       Contingent
           1420 North Pines Rd.                                                        Unliquidated
           Spokane, WA 99206                                                           Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $16,150.75
           City Service Valcon
                                                                                       Contingent
           P.O. Box 1                                                                  Unliquidated
           Kalispell, MT 59903-0001                                                    Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $17,103.12
           Kerr Oil
                                                                                       Contingent
           W 650 Clayton Ave                                                           Unliquidated
           Coeur D Alene, ID 83815                                                     Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 3
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             Case 24-20183-NGH                         Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                                     Desc Main
                                                                     Document     Page 20 of 34
 Debtor        No Limits Aviation, Inc.                                                               Case number (if known)
               Name

 3.6        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $12,000.00
            Kevin Waite
                                                                                Contingent
            505 E Front Ave, Ste 205                                            Unliquidated
            Coeur D Alene, ID 83814                                             Disputed
            Date(s) debt was incurred                                        Basis for the claim: Legal Services
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes


 3.7        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $763.76
            Northstar Jet
                                                                                Contingent
            4337 Corporate Way                                                  Unliquidated
            Missoula, MT 59808                                                  Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes


 3.8        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $10,241.24
            Northwest Seaplanes
                                                                                Contingent
            P.O. Box 1845                                                       Unliquidated
            Renton, WA 98057                                                    Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes


 3.9        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $484.88
            Safety Kleen
                                                                                Contingent
            3808 Sullivan Rd #1                                                 Unliquidated
            Spokane, WA 99216                                                   Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes


 3.10       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $330.00
            San Bernadino County
                                                                                Contingent
            268 W. Hospitality Ln. Third Fl. Ste #302                           Unliquidated
            San Bernardino, CA 92415                                            Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         44,905.83
 5b. Total claims from Part 2                                                                            5b.   +    $                         59,897.75

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                           104,803.58




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
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           Case 24-20183-NGH                           Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                     Desc Main
                                                                     Document     Page 21 of 34
 Fill in this information to identify the case:

 Debtor name         No Limits Aviation, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Sublease of Airport
             lease is for and the nature of               leased ground
             the debtor's interest

                 State the term remaining                 45 years
                                                                                     Brent Rickheim
             List the contract number of any                                         1145 E. Polston Ave.
                   government contract                                               Post Falls, ID 83854


 2.2.        State what the contract or                   Land lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 45 years
                                                                                     Coeur d'Alene Airport
             List the contract number of any                                         10375 N. Sensor Ave.
                   government contract                                               Hayden, ID 83835


 2.3.        State what the contract or                   Dock Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 1 year
                                                                                     Kootenai County Parks & Rec
             List the contract number of any                                         710 E Mullan Ave
                   government contract                                               Coeur D Alene, ID 83814


 2.4.        State what the contract or                   Building lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 2 years
                                                                                     Stancraft Jet Center
             List the contract number of any                                         2936 W. Dakota Avenue
                   government contract                                               Hayden, ID 83835




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           Case 24-20183-NGH                           Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                 Desc Main
                                                                     Document     Page 22 of 34
 Fill in this information to identify the case:

 Debtor name         No Limits Aviation, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
     2.5     Brooke Rogers                     16527 N. Triangle 7 Rd                             Brian Lysak                       D
                                               Hayden, ID 83835                                                                     E/F       3.2
                                                                                                                                    G



     2.6     Shane Rogers                      16529 N Triangle 7 Rd                              Brian Lysak                       D
                                               Hayden, ID 83835                                                                     E/F       3.2
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                             Desc Main
                                                                     Document     Page 23 of 34



 Fill in this information to identify the case:

 Debtor name         No Limits Aviation, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $343,195.22
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,681,359.89
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,012,276.84
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                                Desc Main
                                                                     Document     Page 24 of 34
 Debtor       No Limits Aviation, Inc.                                                                  Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    CV28-22-7289 Lysak v. No                         Civil                      Kootenai County District                       Pending
               Limits Aviation, Inc. et al                                                 Court                                          On appeal
               CV28-22-7289                                                                324 W Garden Ave                               Concluded
                                                                                           Coeur D Alene, ID 83814


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                             Desc Main
                                                                     Document     Page 25 of 34
 Debtor        No Limits Aviation, Inc.                                                                    Case number (if known)



       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Johnson May
                 199 N. Capitol Blvd., Ste. 200
                 Boise, ID 83702                                                                                               May 2024               $25,000.00

                 Email or website address
                 mtc@johnsonmaylaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                     Date transfer          Total amount or
                Address                                         payments received or debts paid in exchange                was made                        value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                    Dates of occupancy
                                                                                                                            From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3

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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                            Desc Main
                                                                     Document     Page 26 of 34
 Debtor      No Limits Aviation, Inc.                                                                   Case number (if known)



            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Does debtor
                                                                      access to it                                                               still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Does debtor
                                                                      access to it                                                               still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4

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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                                 Desc Main
                                                                     Document     Page 27 of 34
 Debtor      No Limits Aviation, Inc.                                                                   Case number (if known)



      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Scenic Adventure Flights, LLC                    Aviation                                         EIN:
             16529 N Triangle 7 Rd
             Hayden, ID 83835-7073                                                                             From-To      5/21/2021-4/29/2024

    25.2.    Brooke's Seaplane Service,                       Aviation                                         EIN:
             Inc.
             10390 N Sensor Ave                                                                                From-To      5/18/1992-4/29/2024
             Hayden, ID 83835


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Anthony Ross
                    3728 E Hope Ave
                    Post Falls, ID 83854


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5

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           Case 24-20183-NGH                           Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                            Desc Main
                                                                     Document     Page 28 of 34
 Debtor      No Limits Aviation, Inc.                                                                   Case number (if known)



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Anthony Ross
                    3728 E Hope Ave
                    Post Falls, ID 83854

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Shane Rogers                                  16529 N. Triangle 7 Rd.                              Owner                                 100
                                                     Hayden, ID 83835



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6

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            Case 24-20183-NGH                          Doc 1          Filed 05/24/24 Entered 05/24/24 14:49:59                           Desc Main
                                                                     Document     Page 29 of 34
 Debtor      No Limits Aviation, Inc.                                                                   Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          May 24, 2024

 /s/    Shane Rogers                                                     Shane Rogers
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7

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           Case 24-20183-NGH                          Doc 1           Filed 05/24/24 Entered 05/24/24 14:49:59                              Desc Main
                                                                     Document     Page 30 of 34
                                                             United States Bankruptcy Court
                                                                           District of Idaho
 In re      No Limits Aviation, Inc.                                                                                 Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Shane Rogers                                                                                                                   100% shareholder
 16529 N Triangle 7 Rd
 Hayden, ID 83835


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       May 24, 2024                                                     Signature /s/ Shane Rogers
                                                                                            Shane Rogers

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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           Case 24-20183-NGH                          Doc 1           Filed 05/24/24 Entered 05/24/24 14:49:59        Desc Main
                                                                     Document     Page 31 of 34




                                                             United States Bankruptcy Court
                                                                            District of Idaho
 In re      No Limits Aviation, Inc.                                                               Case No.
                                                                                    Debtor(s)      Chapter     11




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        May 24, 2024                                               /s/ Shane Rogers
                                                                          Shane Rogers/President
                                                                         Signer/Title




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Case 24-20183-NGH   Doc 1    Filed 05/24/24 Entered 05/24/24 14:49:59   Desc Main
                            Document     Page 32 of 34


                            American Express Company
                            Attn: Legal Department
                            200 Vesey Street
                            New York, NY 10285-3106


                            Brent Rickheim
                            1145 E. Polston Ave.
                            Post Falls, ID 83854


                            Brian Lysak
                            6079 E Fernan Hill Rd
                            Coeur D Alene, ID 83814


                            Brooke Rogers
                            16527 N. Triangle 7 Rd
                            Hayden, ID 83835


                            Certified Security & Integration
                            1420 North Pines Rd.
                            Spokane, WA 99206


                            City Service Valcon
                            P.O. Box 1
                            Kalispell, MT 59903-0001


                            Coeur d'Alene Airport
                            10375 N. Sensor Ave.
                            Hayden, ID 83835


                            Damien Dugan
                            11856 E. Sedgwick Lane
                            83801


                            Idaho Department of Labor
                            600 N Thornton St.
                            Post Falls, ID 83854


                            Idaho Department of Transportation
                            P.O Box 34
                            Boise, ID 83707-0034


                            Idaho State Tax Commission
                            PO Box 36
                            Boise, ID 83722-0410


                            Idaho State Tax Commission`
                            PO Box 36
                            Boise, ID 83722-0410


                            Internal Revenue Service
                            PO Box 7346
                            Philadelphia, PA 19101-7346


                            Kerr Oil
                            W 650 Clayton Ave
                            Coeur D Alene, ID 83815
Case 24-20183-NGH   Doc 1    Filed 05/24/24 Entered 05/24/24 14:49:59   Desc Main
                            Document     Page 33 of 34


                            Kevin Waite
                            505 E Front Ave, Ste 205
                            Coeur D Alene, ID 83814


                            Kootenai County Parks & Rec
                            710 E Mullan Ave
                            Coeur D Alene, ID 83814


                            Northstar Jet
                            4337 Corporate Way
                            Missoula, MT 59808


                            Northwest Seaplanes
                            P.O. Box 1845
                            Renton, WA 98057


                            Rob McCarthy
                            6079 E Fernan Hill Rd.
                            Coeur D Alene, ID 83814


                            Safety Kleen
                            3808 Sullivan Rd #1
                            Spokane, WA 99216


                            San Bernadino County
                            268 W. Hospitality Ln. Third Fl. Ste #30
                            San Bernardino, CA 92415


                            Shane Rogers
                            16529 N Triangle 7 Rd
                            Hayden, ID 83835


                            Stancraft Jet Center
                            2936 W. Dakota Avenue
                            Hayden, ID 83835
            Case 24-20183-NGH                              Doc 1        Filed 05/24/24 Entered 05/24/24 14:49:59                Desc Main
                                                                       Document     Page 34 of 34



                                                                     United States Bankruptcy Court
                                                                              District of Idaho
  In re      No Limits Aviation, Inc.                                                                           Case No.
                                                                                      Debtor(s)                 Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for No Limits Aviation, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class
of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  May 24, 2024                                                           /s/ Matthew Christensen
 Date                                                                    Matthew Christensen
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for No Limits Aviation, Inc.
                                                                         Johnson May
                                                                         199 N. Capitol Blvd.
                                                                         Suite 200
                                                                         Boise, ID 83702
                                                                         (208) 384-8588 Fax:
                                                                         mtc@johnsonmaylaw.com




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